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8                                UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
9                                   SAN FRANCISCO DIVISION
10   In re: CATHODE RAY TUBE (CRT)                                 Master File No. 07-5944 SC
     ANTITRUST LITIGATION
11
                                                                   MDL No. 1917
12   This Document Relates to:
13
     ALL INDIRECT PURCHASER ACTIONS
14

15   Siegel v. Hitachi, Ltd., No. 11-cv-05502;                     INDIRECT PURCHASER
                                                                   PLAINTIFFS’ AND DIRECT
16   Target Corp. v. Chunghwa Picture Tubes, Ltd., No.             ACTION PLAINTIFFS’ MOTION
     11-cv-05514;                                                  FOR SEPARATE TRIALS
17
     Sears, Roebuck and Co., & Kmart Corp. v.
18   Chunghwa Picture Tubes, Ltd., et al., No. 11-cv-
     05514-SC;                                                     The Honorable Samuel Conti
19
     Sharp Elecs. Corp. v. Hitachi, Ltd., No. 13-cv-
20   01173;
21   Sharp Elecs. Corp. v. Koninklijke Philips Elecs.
     N.V., No. 13-cv-02776
22
     Siegel v. Technicolor SA, et al., No. 13-cv-05261;
23
     Sears, Roebuck and Co. and Kmart Corp. v.
24   Technicolor SA, No. 3:13-cv-05262;
25   Target Corp. v. Technicolor SA, et al., No. 13-cv-
     05686;
26
     Viewsonic Corp. v. Chunghwa Picture Tubes, Ltd.,
27   No. 14-cv-02510
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1             The Indirect Purchaser Plaintiff Class (“IPPs”) and the undersigned Direct Action
2    Plaintiffs (“DAPs”) whose cases were filed in and will be tried in this Court move for separate
3
     trials of their respective cases as follows: the DAPs will try their cases together beginning on
4
     March 9, 2015, the date set for trial in the current Scheduling Order. [Docket Nos. 1991, 2459,
5
     2554]1 The IPP case will be set for trial on a later date selected by the Court and the parties to
6

7
     that case. The issues required to be tried in the IPP case will be substantially narrowed if the

8    DAPs prevail on their claims. Regardless of the outcome, the DAP trial result is likely to

9    promote settlement of the IPP case. This is the parties’ first opportunity to address with the Court
10
     the structure for trial of these cases.
11
              I.        SUMMARY
12
              Separate trials of the DAP and IPP cases is the only way to be certain that the DAPs and
13
     IPPs receive a fair trial free of prejudicial influence. For the DAPs, having a consolidated trial
14
     with the IPPs (the downstream customers of most DAPs) injects the issue of defensive pass-
15

16   through, which the Supreme Court prohibited in Sherman Act cases in Hanover Shoe, Inc. v.

17   United Shoe Mach. Corp., 392 U.S. 481, 491-94 (1968). Even if a joint trial is limited to issues
18   not including damages and/or includes limiting instructions to the jury, the presence of the
19
     downstream purchasers represented by the IPPs may infect the trial with defensive pass-through
20
     and distort the verdict for the DAPs.
21
              Separate trials also is the only way to ensure that the IPPs receive a fair trial on their state
22

23
     antitrust and consumer protection claims, where pass-through of the conspiratorial overcharges to

24   them must be established. A jury awarding damages to the upstream DAPs may account for that

25

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     1
        The DAPs who make this motion are: (1) Viewsonic Corporation, (2) Alfred H. Siegel, as the Trustee of the
27   Circuit City Stores, Inc. Liquidating Trust, (3) Kmart Corporation, (4) Sears, Roebuck & Co., (5) Sharp Electronics
     Corporation and Sharp Electronics Manufacturing Company of America, Inc., and (6) Target Corporation. A seventh
28   direct action plaintiff whose case was filed in this Court, Best Buy Co., is filing separately a joinder to this Motion.
                                                                1
                                                                        INDIRECT PURCHASER PLAINTIFFS’ AND DIRECT
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     award and correspondingly decrease the damages to the downstream IPPs, which would
1
     improperly deprive the IPPs of the full measure of their recovery.2
2
              Separate trials of the DAP and IPP cases also limits the potential for jury confusion in a
3

4    case as complex as this and relieves the Court of the burden of managing a massive, lengthy, and

5    needlessly complicated single trial. A trial of just the DAP cases admittedly will be complex.
6    There may be as many as seven plaintiffs and as many as nine groups of defendants, each with its
7
     own counsel.        There will be competing expert economists and econometric models.                               Each
8
     defendant group will argue its own perspective on the scope and effect of the CRT conspiracy and
9
     its role in the CRT market and the conspiracy.                  In addition, defendants have made clear their
10

11
     intention to distract the jury in the DAP trial by arguing that the DAPs had varying degrees of

12   buying power, which supposedly mitigated the impact of defendants’ price-fixing scheme on the

13   DAPs. While this argument and evidence should not be admissible, to the extent the Court allows
14
     it a DAP trial is further complicated.
15
              Trying the IPPs’ state-law claims in the same trial with the DAPs’ Sherman Act claims
16
     magnifies this complexity and the potential for jury confusion and introduces ground for appellate
17
     reversal. In addition to the DAPs’ claims under the Sherman Act, the jury would have to consider
18

19   the IPPs’ claims under state antitrust and consumer protection laws of twenty-one states. In a

20   single, consolidated trial, the jury confusion resulting from pass-through of the conspiratorial

21   overcharges would be insurmountable – pass-through cannot be considered in the DAPs federal
22
     claims but must be established for the IPPs to prevail on their state claims. Even in a joint but
23
     bifurcated trial, a single jury inevitably may be confused by first awarding damages to the DAPs
24
     and then considering damages suffered by the downstream IPPs.
25

26
     2
        Separate trials of the IPP and DAP cases does not create an issue of “duplicative recovery.” As explained in the
27   text, the Supreme Court has made clear that state law does not “duplicate” federal law; rather, it provides remedies in
     addition to those available under the Sherman Act. And, to the extent there is even a possibility of an issue of
28   duplicative recovery, which is entirely speculative at this point, it can and should be dealt with post-trial by the Court.
                                                                 2
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              Separate trials of the DAP and IPP cases will not impair, and may well promote, judicial
1
     efficiency. A trial outcome favorable to the DAPs will be dispositive of many of the issues in the
2
     IPP case, thus reducing materially the amount of time needed for an IPP trial. And, regardless of
3

4    the outcome of the DAP trial, obtaining a jury verdict on liability and quantum of the price-fixing

5    overcharge on CRTs and CRT products purchased by the DAPs is very likely to encourage
6    settlement of the IPP case.
7
              Fundamentally, for both the DAPs and IPPs, separate trials is the only way to have their
8
     respective claims adjudicated free of prejudice and minimize potential jury confusion. For the
9
     DAPs with cases in this Court, a trial separate from the IPPs provides the same trial integrity
10

11
     available to those DAPs whose cases will be remanded for trial to their transferor courts, such as

12   Costco and Dell.       The remanded DAPs will not have their trials adversely influenced or

13   complicated by the presence (or any mention) of the downstream IPPs. The outcome for those
14
     DAPs who will try their cases in this Court should be equally untainted.
15
              II.       THE PARTIES TO AND STATUS OF THE IPP AND DAP CASES
16
              The IPPs are twenty-two certified classes of persons who purchased CRT products
17
     indirectly from defendants for their own use and not for resale. [Master Docket Nos. 1742, 1950
18

19
     (all docket references are to the Master Docket)] Essentially, the IPPs are individual consumers

20   and small businesses who bought CRT TVs and monitors. The IPPs assert claims for damages

21   under twenty-two state antitrust laws, eight state consumer protection statutes, and for unjust
22
     enrichment and disgorgement of profits.            [IPPs’ Fourth Consolidated Amended Complaint,
23
     Docket No. 1526] The IPPs assert these claims against five defendant groups: Philips, Samsung,
24
     Toshiba, Panasonic, and Hitachi.3
25

26
     3
        The IPPs settled with Chunghwa and LG. These settlements were given final approved by the Court on March 22,
27   2012 [Docket No. 1105] and April 18, 2014 [Docket No. 2542], respectively. The IPPs also named as defendants
     other entities, such as IRICO and Thai CRT, which are defunct or otherwise have not appeared.
28
                                                           3
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              The direct action plaintiffs with cases filed and to be tried in this Court are: Best Buy, the
1
     Circuit City Liquidating Trust, Kmart, Sears, Sharp Electronics, Target, and Viewsonic. The
2
     DAPs are (or were) well-known retailers, a CRT TV manufacturer (Sharp), and another CRT
3

4    product manufacturer (Viewsonic.) If separate trials are held as proposed in this Motion, the

5    DAPs will present at trial claims only under Section One of the Sherman Act.4 With some slight
6    variation among them, the group of DAPs has claims against nine defendant groups: Philips,
7
     Samsung, Toshiba, Panasonic, Hitachi, LG, Chunghwa, Thomson, and Mitsubishi.5
8
               The IPP and DAP cases are proceeding under a common Scheduling Order. [Docket
9
     Nos. 1991, 2459, 2554]6 That Scheduling Order sets March 9, 2015 as the date for “Trial(s).”
10

11
     [Docket No. 2459]

12            On September 13, 2013, the Court held a status conference with all parties in all CRT

13   cases, including the Direct Purchaser Plaintiff Class (“DPPs”), which at that time had settled its
14
     claims against all defendants except Samsung. Following that status conference, the Court
15
     entered an order giving the DPPs a pretrial schedule with expedited deadlines for expert reports,
16
     dispositive motions, and mediation [Docket No. 2096].7 The Court also entered a separate
17
     stipulated order placing the IPPs and DAPs under a common scheduling order [Docket No.
18

19   4
        The DAPs originally filed claims under various state statutes and common law. Certain of those claims were
     dismissed by the Court on Defendants’ Motion to Dismiss [Docket No. 1856]. In the interests of efficiency and
20   streamlining a separate DAP trial, should the Court hold separate trials as proposed in this Motion, the DAPs will
     dismiss the remainder of their state law claims. As a result, the undersigned DAPs contemplate that the first trial will
21   involve only claims under federal antitrust law.
22   5
       Several of the DAPs have settled with Chunghwa but others have not. The DAPs also named as defendants other
     entities, such as IRICO and Thia CRT, which have not appeared.
23
     6
       The Scheduling Order provides that other DAP cases not filed in this Court but transferred by the MDL Panel to
24   this Court for pretrial proceedings “will be returned to the courts in which they were originally filed” after “the
     Court’s rulings on dispositive motions and Daubert motions.” [Docket No. 2459 at 4, n*] Thus, the cases brought by
25   Costco, Dell, Electrograph, Office Depot, TechData and other DAPs will be returned to their respective transferor
     courts for trial.
26
     7
        The DPPs subsequently settled with Samsung, and that settlement was given preliminary approval by the Court on
27   April 14, 2014. [Docket No. 2534] On August 22, 2014, a hearing was held on final approval of the DPP-Samsung
     settlement.
28
                                                                4
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     1991].8      Although the order on the DPPs’ schedule states that “all proceedings will be
1
     consolidated for trial,” [Docket No. 2096 at 2], at the status conference neither the Court nor the
2
     parties discussed how best to conduct fair and manageable trials because the focus at that time
3

4    was on the appropriate pretrial schedules.9

5              III.     THE COURT CAN CONDUCT SEPARATE TRIALS.
6              The Court may hold separate trials of the IPP and DPP cases. Fed. R. Civ. P. 42(b)
7
     provides that separate trials may take place “[f]or convenience, to avoid prejudice, or to expedite
8
     and economize.”          Prejudice to the parties, confusion to the jury, and relative convenience and
9
     economy may be grounds for ordering separate trials. M2 Software, Inc. v. Madacy Entm’t, 421
10
     F.3d 1073, 1088 (9th Cir. 2005). Only one of the Rule 42(b) criteria need be met. Id. In this
11

12   case, several are applicable.

13             IV.      SEPARATE TRIALS WILL AVOID PREJUDICE TO THE DAPS AND
                        IPPS.
14
               Separate trials of the DAP and IPP cases is the best and only way to assure the DAPs and
15

16   IPPs receive fair trials untainted by prejudicial influence.10 For the DAPs, a consolidated trial of

17   the DAP and IPP cases places defensive pass-through of the price-fixing overcharge squarely

18
     8
       Under the Court’s order providing certain expedited pretrial deadlines for the DPPs, after the deadline for
19   mediation the DPPs’ claim against Samsung, if not settled, would proceed on the remaining schedule set for the IPPs
     and DAPs. [Docket No. 2096 at 2]
20
     9
       The parties’ written statements submitted in advance of the September 13, 2013 status conference did not discuss
21   how to structure trial of these cases, and during the conference the Court expressed reservations about the feasibility
     of trying all claims of all plaintiffs in a single trial. [Transcript of Sept. 13, 2013, status conference, at 19:23-20:5.]
22
     10
          An entirely separate but very important issue regarding prejudice to the DAPs and IPPs arises from defendants’
23   apparent intention to place into evidence in the trials of these cases the guilty plea of non-party Sharp Corporation in
     the LCD Antitrust criminal case. That guilty plea has no bearing on whether Sharp, which did not produce CRTs and
24   was only a purchaser of CRTs from defendants, paid an unlawful overcharge due to a price-fixing conspiracy.
     Further, the Sharp guilty plea has zero probative value and enormous prejudicial value as to the other DAPs, who had
25   nothing to do with the LCD price-fixing conspiracy and most of whom were victims of that conspiracy and sued
     Sharp based on that guilty plea in the LCD case. Nonetheless, defendants’ plainly intend to use the guilty plea in this
26   case, if allowed. For no legitimate reason, they recently marked the Sharp guilty plea agreement as an exhibit in the
     deposition of the Sharp plaintiffs’ expert economist in this case. In the event that the Court is inclined to allow
27   admission at trial of the Sharp Corporation LCD guilty plea, the remaining DAPs would request that their cases be
     tried separately from the Sharp plaintiffs.
28
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     before the jury. Not only will the defendants argue the DAPs passed on the overcharges, the IPPs
1
     must prove pass-through to establish their state-law claims. The prejudice to the DAPs will be
2
     immense and in violation of the clear rule in Hanover Shoe. As this Court recognized in its Order
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4    Granting in Part and Denying in Part Defendants’ Joint Motion for Summary Judgment in the

5    DPP case, “In Hanover Shoe, the Supreme Court barred the defensive use of a pass-through
6    theory, thereby allowing antitrust plaintiffs to recover damages in excess of their actual losses.”
7
     [Docket No. 1470 at 7, n. 5].11
8
              For the IPPs, a trial consolidated with the DAPs is equally prejudicial. As the downstream
9
     plaintiffs, the jury may assess damages to the IPPs after considering damages to the upstream
10

11
     DAPs. If that happens, substantial prejudice may result from the jury reducing or offsetting the

12   award to the IPPs because of damages awarded to the DAPs. This would impair the IPPs’ right to

13   recovery provided under state antitrust and consumer protection laws.
14
              V.        SEPARATE TRIALS WILL MINIMIZE JURY CONFUSION.
15
              With as many as seven plaintiffs and nine defendant groups and expert economists for
16
     each side offering economic theories and econometric models of the CRT market and resulting
17
     conspiratorial overcharges, a trial of the DAP cases will be complicated and challenging for a
18

19
     jury. If the IPPs and their claims are added to this complexity, the likelihood of jury confusion

20   increases. The IPPs bring an additional set of state-law claims under twenty-two antitrust acts

21   and eight consumer competition statutes.
22
              Moreover, the IPPs add to the trial another layer of the distribution chain – the end-user
23
     purchasers of CRT products. In order for the IPPs to establish pass-through of the overcharges to
24
     them, they will introduce market evidence and expert economic opinion on the state of
25
     competitive conditions in the CRT product market at the retailer level (the DAP level). It is the
26

27
     11
        See California v. ARC America Corp.., 490 U.S. 93, 102 (1989) (“Congress intended the federal antitrust laws to
28   supplement, not displace state antitrust remedies.”).
                                                             6
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     distribution level above the IPP end-users that “passes through” the price-fixing overcharge to
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     them. Thus, in addition to defensive pass-through causing substantial prejudice to the DAPs, a
2
     jury in a consolidated trial will have to keep separate the evidence of pass-through at two levels of
3

4    the distribution chain – first from the defendants (and their affiliated or controlled product

5    manufacturing entities) who sold CRT products to the DAPs, and then from the retailer-DAPs to
6    the end-user IPPs.
7
               Further jury confusion in a consolidated DAP-IPP trial is likely to arise if the Court allows
8
     defendants to argue that the DAPs had bargaining power in purchasing CRT products and
9
     somehow used this power to mitigate the extent of the price-fixing overcharges. While this
10

11
     evidence should not be admitted as to the DAPs, it has no application to the IPPs; yet, the jury in

12   a consolidated trial would have to keep this testimony separate as to the different sets of plaintiffs.

13             VI.      SEPARATE TRIALS ARE NOT LIKELY TO CONSUME MORE
                        JUDICIAL RESOURCES.
14
               Separate trials of the IPP and DAP cases are not likely to involve more judicial resources
15

16   than an all-encompassing, consolidated trial. If the DAPs prevail in their case, the preclusive

17   effect of the verdict on liability, overcharges on CRTs, pass-through of overcharges to the DAPs,
18   and defensive issues submitted to the jury (if any) in will reduce the scope of the subsequent IPP
19
     trial. The focus of the IPP trial would be on fact of injury to the IPPs, pass-through of the
20
     overcharge to the IPPs and damages.
21
               Even a mixed result or adverse outcome in the DAP trial is likely to influence the
22

23
     resolution of the IPP case. Experienced and highly competent counsel for the parties will have

24   the benefit of an actual trial of most of the disputed issues and can use that in their evaluations of

25   the IPP case. While there can be no guarantee that the IPP case would settle entirely, both
26
     experience and reason suggest that is likely to happen.12
27

28   12
          Separate trials of the DAP and IPP cases will not impose unwarranted costs on the defendants. As a result of the
                                                               7
                                                                       INDIRECT PURCHASER PLAINTIFFS’ AND DIRECT
                                                                   ACTION PLAINTIFFS’ MOTION FOR SEPARATE TRIALS
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              VII.      SEPARATE TRIALS DO NOT LEAD TO DUPLICATIVE RECOVERY.
1
              There is no issue of duplicative recoery under federal law, as the Supreme Court has made
2
     clear that state law does not “duplicate” federal law, but rather provides remedies in addition to
3

4    those available under the Sherman Act. And to the extent that there is even a possibility of some

5    issue of duplicative recovery issue arising in the future under state law (which is purely

6    speculative at this point), that can and should be dealt with by the Court post-trial, and thus
7
     provides no reason to try the DAP and IPP cases together.
8
                        A.     There is no duplicative recovery issue between Sherman Act
9                              direct action plaintiffs and state law indirect purchaser
10                             plaintiffs.
11            Under well-established federal law, there is no duplicative recovery issue between the

12   federal law DAPs and the state law IPPs. Hanover Shoe established that a federal antitrust
13
     plaintiff is entitled to 100% of any overcharge that it paid, regardless of whether some of that
14
     overcharge was passed on to indirect purchasers. The Supreme Court held that “Hanover proved
15
     injury and the amount of its damages for the purpose of its treble-damage suit when it proved that
16
     United had overcharged it during the damage period and showed the amount of the overcharge,”
17

18   and did not allow a pass-on defense. Hanover Shoe, 392 U.S. at 494. The Court stated that it was

19   reaffirming earlier cases holding that any passing-on of an overcharge is “irrelevant in assessing

20   damages.” Id. at 490. While the Court indicated that there might be rare situations where the
21

22   substantial scope, nature and impact of their CRT price-fixing conspiracy, the defendants have been sued by DPPs,
     IPPs, a number of DAPs, and the California Attorney General, in addition to several criminal indictments and a guilty
23   plea and governmental regulatory proceedings in the European Union, Korea and Japan. The defendants face trials
     not only in this Court but in several MDL transferor courts in Washington, Texas, Florida and other jurisdictions in
24   the United States and abroad. In addition, the defendants face a trial of the California Attorney General’s case in
     California state court. Whether this Court conducts one massive trial or two more focused trials will not materially
25   alter defendants’ costs of resolving their anticompetitive conduct. Nor can the defendants argue that separate trials
     should not be held in this Court because they may reach inconsistent outcomes. While such results might occur, that
26   potential is inherent and accepted in cases such as this where anticompetitive conduct injures many parties in many
     different jurisdictions. Separate actions may reach different outcomes, as for example the DAPs in this Court may
27   obtain a favorable jury verdict but Dell’s Section One claims against the defendants may receive a different outcome
     from a jury in Texas. The same is true with respect to separate trials of the DAP and IPP cases in this Court.
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     logic of the opinion would not control—for example when a plaintiff had a cost-plus contract—
1
     there is nothing in the opinion suggesting that the Court thought that a pass-on defense and
2
     allocation of damages across distribution levels was called for by federal law.
3

4             In Illinois Brick, the Court reaffirmed its holding in Hanover Shoe that “in general a pass-

5    on theory may not be used defensively by an antitrust violator against a direct purchaser
6    plaintiff.” Illinois Brick Co. v. Illinois, 431 U.S. 720, 726 (1977). The Court stated that this
7
     holding “rest[ed] on the judgment that the antitrust laws will be more effectively enforced by
8
     concentrating the full recovery for the overcharge in the direct purchasers.” Id. at 735. The Court
9
     further held that indirect purchaser claims based on passed-on overcharges would not be
10

11
     recognized under the federal antitrust laws. Id. at 728-729.

12            Finally, in ARC America, the Court held that federal antitrust law did not pre-empt state

13   law causes of action by indirect purchaser plaintiffs. ARC America, 490 U.S. at 101. The Illinois
14
     Brick rule does not preclude state law indirect purchaser claims because “Congress intended the
15
     federal antitrust laws to supplement, not displace, state antitrust remedies.” Id. at 102. The
16
     Supreme Court rejected the argument that any “express federal policy condemning multiple
17
     liability” compelled a different result. Id. at 105. As the Court held, there is no “federal policy
18

19   against States imposing liability in addition to that imposed by federal law.” Id.

20            Thus, the Supreme Court has never endorsed the view that federal and state law trials

21   should be consolidated to coordinate remedies, or that damages would somehow have to be
22
     allocated between direct purchaser federal plaintiffs and indirect purchaser state plaintiffs. The
23
     Court has in fact indicated just the opposite: “[T]hese state statutes cannot and do not purport to
24
     affect remedies available under federal law.” Id. at 103. Federal and state law plaintiffs can
25
     pursue their different claims without coordination and without allocation between each other,
26

27   because under the federal antitrust laws there is no “policy against States imposing liability in

28   addition to that imposed by federal law.” Id. at 105.
                                                      9
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              The California Supreme Court came to a similar conclusion in Union Carbide Corp. v.
1
     Superior Court, 36 Cal. 3d 15 (1984). There, the defendants argued that California direct
2
     purchasers who were pursuing federal claims in a separate case should be brought into a pending
3

4    Cartwright Act state case brought by indirect purchasers, because the federal claims supposedly

5    created a risk of multiple liability. Id. at 22. The Court rejected that argument, finding that there
6    is no substantial risk of multiple liability arising from the fact that the defendants “may be held
7
     liable in a federal suit under a federal statute to a person or class wholly different from the person
8
     or class to whom they are sought to be held liable in a California action under a California statute
9
     for the same tortious conduct.” Id. at 22-23. The Court noted that pass-on issues were “irrelevant
10

11
     to” the federal direct purchaser case because federal law “allows recovery by the direct purchaser

12   regardless of whether the overcharge was passed on.” Id. at 23. Thus, there was no need to join

13   the actions of the federal direct purchasers, who were pursuing full federal law recovery in their
14
     case, to the actions of the California indirect purchasers, who were pursuing their full state law
15
     recovery under the Cartwright Act.
16
              Because state law provides antitrust remedies distinct from those permitted under federal
17
     law, any purported concerns about “duplicative recovery” are a red herring and provide no basis
18

19   to deny this Motion.

20                      B.   If any allocation of damages is eventually required, it can
21
                             and should be addressed by the Court through post-trial
                             proceedings.
22
              Under both federal and state law, the Court can and should utilize post-trial remittitur to
23
     address any due process claim by defendants of purported punitive damages. See Morgan v. New
24

25   York Life Ins. Co., 559 F.3d 425, 443 (6th Cir. 2009) (“we will vacate the award and remand the

26   case to the district court for an order of remittitur that will set the punitive damages in an amount

27   that it determines is compatible with due process.”); 735 Ill. Comp. Stat 5/2-1207 (“The trial
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     court may, in its discretion, with respect to punitive damages, determine whether a jury award for
1
     punitive damages is excessive, and if so, enter a remittitur and a conditional new trial.”); Simon v.
2
     San Paolo U.S. Holding Co., Inc., 35 Cal. 4th 1159, 1187 (2005) (the “appropriate order” to
3

4    address excessive punitive damages is a remittitur); Daka, Inc. v. McCrae, 839 A.2d 682, 701-02

5    (D.C. 2003).
6             Similarly, the Court can utilize remittitur to address any due process concerns regarding
7
     duplicative damages. See, e.g., Mattel, Inc. v. MGA Entm’t, Inc., Case No. CV 04-9049 DOC
8
     (RNBx), 2011 U.S. Dist. LEXIS 85928, 56-57 (C.D. Cal. Aug. 4, 2011) (remittitur is proper
9
     vehicle to address claim of duplicative recovery); Morrison Knudsen Corp. v. Ground
10

11
     Improvement Techniques, Inc., 532 F.3d 1063, 1079 (10th Cir. 2008); Eccleston v. New York City

12   Health & Hosps. Corp., 698 N.Y.S.2d 869, 870 (1999); Louis DeGidio Oil & Gas Burner Sales

13   & Service, Inc. v. Ace Eng’g Co., Inc., 302 Minn. 19, 29 (1974).
14
              Because the issue of duplicative recovery can (and should) be raised in the context of
15
     post-trial remittitur proceedings, concerns over duplicative recovery have no bearing on whether
16
     the IPP and DAP cases should be tried together.
17
              VIII. A BIFURCATED TRIAL WILL NOT ALLEVIATE THE POTENTIAL
18
                    PREJUDICE TO THE DAPS AND IPPS AND WILL RESULT IN
19                  PROBLEMS OF ITS OWN.

20            Counsel for the DAPs and IPPs have considered at length whether a consolidated trial

21   bifurcated into separate liability and damages phases can eliminate the prejudicial effect of a joint
22
     DAP-IPP trial on all issues. It cannot. Moreover, bifurcation of this antitrust case raises difficult
23
     issues of duplicative testimony, potentially conflicting outcomes, and inefficiency. For these
24
     reasons, courts have cautioned that “[i]n a private antitrust suit there is no neat dividing line
25
     between the issues of liability and damages and because of the difficulty in establishing this
26

27   ‘dividing line’ any severance of issues in such a case ‘must proceed with trepidation.’” Windham

28   v. American Brands, Inc., 565 F.2d 59, 71-72 (4th Cir. 1977) (en banc) (quoting Response of
                                                 11
                                                             INDIRECT PURCHASER PLAINTIFFS’ AND DIRECT
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     Carolina, Inc. v. Leasco Response, Inc., 537 F.2d 1307, 1324 (5th Cir. 1976)). The Manual for
1
     Complex Litigation, Fourth, likewise advises that “[g]eneral principles relevant to structuring
2
     trials apply to antitrust litigation, although the judge should take particular care when considering
3

4    severance of damage issues from other elements of the claim.” § 30.1. The Ninth Circuit has

5    held that it is error for a district court to bifurcate liability and damages when “the question of
6    damages is so interwoven with liability that the former cannot be submitted to the jury
7
     indepedently of the latter without confusion and uncertainty.” Miller v. Fairchild Indus., 885
8
     F.2d 498, 511 (9th Cir. 1989).
9

10
                        A.   Bifurcation Does Not Eliminate Potential Prejudice to the
                             DAPs and IPPs.
11
               Conducting a consolidated trial of the DAP and IPP cases in bifurcated phases does not
12
     free the DAPs and IPPs from potential prejudice. A joint DAP-IPP trial in which liability and
13

14
     damages are bifurcated and considered in separate phases by the same jury still has enormous

15   potential for prejudice. Under the Sherman Act, “fact of damage” is an element which plaintiff

16   must establish. Christofferson Dairy v. MMM Sales, 849 F.2d. 1168, 1172-73 (9th Cir. 1988). .
17
     “Fact of damage” is in general terms the causation element of a Section One claim and how
18
     plaintiff establishes the “injury to business or property” requirement.       “Fact of damage” is
19
     considered an element of proving liability and differs from amount of damages. E.g., MCI
20
     Communications Corp. v. AT&T Co., 708 F.2d 1081, 1167-68 & n. 122 (7th Cir. 1983). See also
21

22   Blanton v. Mobil Oil Corp., 721 F.2d 1207 (9th Cir. 1983).

23             In this case, “fact of damage” for the DAPs will be established in part through evidence

24   and expert opinion that they paid a price-fixing overcharges on CRTs.            Similarly, “fact of
25
     damage” for the IPPs will be proven in part by evidence and expert opinion that the price-fixing
26
     overcharges on CRTs was passed through to them by the DAPs. Without downstream pass-
27
     through, the IPPs cannot demonstrate “fact of damage.” Thus, a joint DAP-IPP trial in which
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     “liability” is considered in the first phase necessarily poses the same risk of prejudice to the DAPs
1
     and runs head on into Hanover Shoe’s bar against defensive pass-through in Section One cases.
2
               Even a bifurcated trial in which the first phase is limited to whether defendants conspired
3

4    to fix CRT prices poses serious risk of prejudice to the DAPs and IPPs. Such a trial would have

5    to proceed in three phases. The first phase would be a joint DAP-IPP trial in which the jury
6    would determine whether there was a conspiracy. In the second phase, only the DAPs would be
7
     present and the jury would determine whether the DAPs suffered “fact of damage” and the
8
     quantum of damages. In the third phase involving only the IPPs, the jury would determine
9
     whether the downstream IPPs suffered “fact of damage” and the quantum of their damages.
10

11
               This three-phase trial is very likely to expose the DAPs, the IPPs, or both to prejudice. A

12   jury hearing a joint DAP-IPP phase one trial will be entirely aware of the IPPs and their presence

13   in the case when considering the “fact of damage” and quantum of damages to the DAPs in phase
14
     two. The jury will understand (and may have been expressly advised) that a third phase will
15
     follow in which the downstream IPPs will seek damages. There is a serious risk that the jury’s
16
     awareness of an upcoming phase devoted to the IPPs damages will prejudice its consideration of
17
     the damages to the DAPs in phase two.13
18

19             This three-phase bifurcation also risks prejudice to the IPPs. A jury that in phase two

20   awards substantial damages to the DAPs should not consider that award in awarding damages to

21   the IPPs in phase three. Human nature, however, suggests that the same jury that awarded
22
     damages to the DAPs in week one is not capable of divorcing itself from that award when
23
     considering damages to the IPPs from the same anticompetitive conduct in week two.
24

25
     13
          Conducting a bifurcated trial with separate juries in all three phases will keep defensive pass-through from
26   infecting the DAPs and will avoid one jury offsetting the damages awarded to either the DAPs or the IPPs with those
     awarded or to be awarded to the other. However, conducting in essence three trials with separate juries is the least
27   efficient use of party and judicial resources. It also presents troubling issues of how to separate the evidence neatly
     into the three phases (or risk substantial duplication) and whether issues can fairly be submitted to juries in a near-
28   vacuum.
                                                              13
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                        B.   Bifurcation Raises Issues of Duplication and Inefficiency.
1
               One major defense theme in this case is that while defendants attended group meetings,
2

3
     had bilateral communications, exchanged highly confidential information on prices, production,

4    and capacity, and agreed to fix prices and otherwise restrain competition in CRTs, they did not

5    honor their agreements. Thus, according to defendants, the CRT conspiracy was largely if not
6
     entirely ineffective in raising prices. One defense economist even opines that the conspiracy
7
     lowered prices for certain CRTs. Other defense economic experts have opined that the CRT
8
     market was not susceptible to effective price-fixing and/or that the conspirators did not honor
9
     their anticompetitive agreements.
10

11             This defense theme of cheating and dishonor permeates all aspects of this case.

12   Defendants will argue it means there was no conspiracy, there was no “fact of damage,” and that

13   there were no measurable damages suffered by the DAPs and IPPs. Parsing the evidence,
14
     including expert testimony, that defendants intend to introduce in support of this argument
15
     between separate trial phases will be challenging, if not impracticable. The result is likely to be
16
     duplication of evidence and a corresponding impact on the efficiency of a bifurcated trial.
17
              IX.       THE RECENT CASE FILED BY THE DPPS IS ON AN ENTIRELY
18
                        DIFFERENT SCHEDULE.
19
              After settling all claims in their action filed in 2007 in this Court, the DPPs commenced a
20
     new action on May 5, 2014 against two defendants – Thomson and Mitsubishi. Crago v.
21
     Mitsubishi Electric Corp., Case No. 14-cv-2058-SC.           That case is on an entirely different
22

23   schedule than the IPP and DAP cases. Class certification proceedings have not been held and no

24   class as yet has been certified, expert reports have not been exchanged, and no pretrial scheduling

25   order has been entered. Trial of the new DPP case cannot reasonably be coordinated with the IPP
26
     and DAP cases.
27

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              X.        THE COURT SHOULD SCHEDULE SEPARATE TRIALS FOR THE
1                       DAPS AND IPPS.
2             To assure both the DAPs and IPPs of trials free of prejudicial influence and to minimize
3
     the likelihood of jury confusion in admittedly complex cases, the Court should schedule separate
4
     trials for the DAPs and IPPs. Recognizing these concerns, the district court in In re Polyurethane
5
     Foam Antitrust Litigation recently ordered separate trials for the claims of the IPPs (and DPPs)
6
     and DAPs. Order Selecting Initial Trial, Requiring Party Mediation, and Revising Remaining
7

8    Deadlines, July 3, 2014 [attached as Exhibit A]. The court in Polyurethane Foam stated that

9    separate trials avoid “passthrough issues” and are “more manageable for this Court and the jury.”

10   Id. at 3. Similarly, in the LCD Antitrust Litigation Judge Illston ordered separate trials for the
11
     class action cases and the DAP cases. In re TFT-LCD (Flat Panel) Antitrust Litigation, Order re
12
     Pretrial and Trial Schedule, Nov. 23, 2010 [attached as Exhibit B]. Due to the number of DAP
13
     cases filed in LCD, Judge Illston separated the DAPs into “tracks” based upon the date their cases
14
     were commenced and ordered that separate trials be scheduled for the tracks of DAP cases. Id.
15

16   (creating both pretrial and trial dates “applicable to all Direct Action Plaintiffs and all State AG

17   Plaintiffs (in cases on file by 12/1/10).14
18            For the foregoing reasons, the IPPs and the undersigned DAPs request that the Court order
19
     separate trials of their cases.
20

21

22

23

24

25

26

27   14
        Later scheduling orders in the LCD cases adopted pretrial and trial schedules for those DAP cases filed after
     December 1, 2010, which were designated “Track 2 cases.” Order re Pretrial and Trial Schedule for Track Two
28   Direct Action Cases, July 6, 2012.
                                                              15
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                                       CERTIFICATE OF SERVICE
1
                    IN RE CATHODE RAY TUBE (CRT) ANTITRUST LITIGATION
2                                  Case No. CV-07-5944-SC
                                        MDL No. 1917
3

4             I, Kenneth S. Marks , declare:

5            I am employed in the County of Harris, State of Texas. I am over the age of 18 years and
     not a party to the within action. My business address is Susman Godfrey L.L.P., 1000 Louisiana
6    Street, Suite 5100, Houston, Texas 77002.
7
           On October 3, 2014, I served a true and correct copy of the following document(s) in the
8    manner indicated below:

9    [ ]      BY U.S. MAIL: I caused the said document(s) to be deposition in the United States mail,
              at Houston, Texas, in a sealed envelope with first-class postage thereon fully prepaid, to
10
              the addressee(s) named below: and
11
     [X]      BY ELECTRONIC MAIL: I caused the said document(s) to be emailed to the offices
              and/or to attorneys of the offices of the addressee(s) named below.
12
                                    SEE ATTACHED SERVICE LIST
13

14
     Dated: October 3, 2014                        Signed         /s/ Kenneth S. Marks
15                                                                 Kenneth S. Marks

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                                                               INDIRECT PURCHASER PLAINTIFFS’ AND DIRECT
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